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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION


 UNITED STATES OF AMERICA,                      CR 23-54-BLG-SPW-02


                          Plaintiff,
                                                PRELIMINARY ORDER OF
            vs.                                 FORFEITURE


 BROOKE NICOLE LARSEN,

                          Defendant.


      WHEREAS,in the indictment in the above case, the United States sought

forfeiture of any property ofthe above-captioned person, pursuant to 21 U.S.C.

§ 853, as property used or intended to be used to facilitate the violations alleged in

the indictment, or as proceeds of said violations;

      AND WHEREAS,on January 9, 2024, the defendant entered a plea of guilty

to Count 1 ofthe indictment, which charged her with conspiracy to possess with

intent to distribute controlled substances, in violation of21 U.S.C. § 846;

      AND WHEREAS,the indictment contained a forfeiture allegation that

stated that as a result ofthe offenses charged in the indictment, the defendant shall

forfeit the following property:

         • $26,224.00 in United States currency.

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